                    IN THE UNITED STATES DISTRICT COURT
                FOR THE MIDDLE DISTRICT OF NORTH CAROLINA



 FOOD LION, LLC, AND MARYLAND
 AND VIRGINIA MILK PRODUCERS
 COOPERATIVE ASSOCIATION, INC.,

                        Plaintiffs,                                   1:20-CV-442
v.

DAIRY FARMERS OF AMERICA, INC.,

                        Defendant.


                                  PROTECTIVE ORDER

       The Court hereby enters the following Protective Order (the “Protective Order”)

to prevent the inappropriate dissemination of documents and information produced in

the course of discovery, which may include but is not limited to competitively sensitive

and confidential information about pricing, budgets, forecasts, strategic plans, cost of

production and sale, and other confidential commercial information. Good cause

appearing, it is hereby ORDERED as follows:

     1. Scope of Order. This Protective Order governs the use and handling of

        documents, electronic information in any form, testimony, interrogatory

        responses and other information, including all copies, excerpts, and summaries

        thereof (collectively, the “Material”) produced or given by any defendant,

        plaintiff, or other individual or entity (the “Producing Party”) in pre-trial

        proceedings in this Litigation. Material produced in this Litigation, including




       Case 1:20-cv-00442-CCE-JLW Document 50 Filed 08/31/20 Page 1 of 22
   without limitation Material designated as “Confidential,” “Highly Confidential—

   Attorney’s Eyes Only,” or “Highly Confidential—Outside Counsel Eyes Only”

   under the provisions of this Protective Order, and information derived therefrom,

   shall be used only for the purpose of this Litigation and any related appellate

   proceeding, and not for any other legal proceeding, business, competitive,

   personal, private, public, or other purpose whatsoever.

2. Designation of Confidential Material. The Producing Party may designate as

   “Confidential” any Material that it produces in this Litigation which it believes

   constitutes, contains, reflects or discloses confidential, non-public research and

   analysis, development or commercial information, or other information for which

   a good faith claim of need of protection from disclosure can be made under the

   Federal Rules of Civil Procedure and/or other applicable law (“Confidential

   Material”). The designations will be made reasonably and in good faith.

3. Designation of Highly Confidential—Attorney’s Eyes Only Material. The

   Producing Party may designate as “Highly Confidential—Attorney’s Eyes Only”

   (a) any non-public personal information or (b) any Confidential Material that a

   Producing Party reasonably and in good faith believes to be sensitive confidential

   and/or proprietary information, the disclosure of which, even if limited to those

   permitted to receive Confidential Material permitted under this Order, would

   compromise and/or jeopardize the Producing Party’s business interests (“Highly

   Confidential--Attorney’s Eyes Only Material”).




                                           -2-


  Case 1:20-cv-00442-CCE-JLW Document 50 Filed 08/31/20 Page 2 of 22
4. Designation of Highly Confidential—Outside Counsel Eyes Only Material.

   The Producing Party may designate as “Highly Confidential--Outside Counsel

   Eyes Only” (a) any non-public personal information of a highly sensitive nature

   or (b) any Confidential or Highly Confidential—Attorney’s Eyes Only Material

   that a Producing Party reasonably and in good faith believes to be information

   that would reveal a trade secret, proprietary formula or process, or non-public

   financial, competitively sensitive commercial, or strategic information, the

   disclosure of which, even if limited to those permitted to receive Highly

   Confidential—Attorney’s Eyes Only Material permitted under this Order, would

   put the Producing Party’s business interests at substantial risk of serious harm

   (“Highly Confidential—Outside Counsel Eyes Only Material”). This category is

   intended to be reserved for the most sensitive type of competitive information.

5. Production of Documents and Other Material Containing Confidential,

   Highly Confidential—Attorney’s Eyes Only, or Highly Confidential—

   Outside Counsel Eyes Only Material. The designation of Confidential

   Material, Highly Confidential—Attorney’s Eyes Only, or Highly Confidential—

   Outside Counsel Eyes Only Material for the purposes of this Protective Order

   shall be made in the following manner:

   (a) In the case of documents produced in discovery (including electronic

      documents produced in TIFF or PDF form), by marking each page containing

      any Confidential Material with the word “Confidential,” by marking each

      page containing any Highly Confidential—Attorney’s Eyes Only Material

                                           -3-


  Case 1:20-cv-00442-CCE-JLW Document 50 Filed 08/31/20 Page 3 of 22
   with the words “Highly Confidential—Attorney’s Eyes Only,” and by

   marking each page containing any Highly Confidential—Outside Counsel

   Eyes Only Material with the words “Highly Confidential—Outside Counsel

   Eyes Only.”

(b) In the case of written discovery responses, by marking with the appropriate

   designation both (i) the first or cover page and (ii) each page containing

   Confidential, Highly Confidential—Attorney’s Eyes Only Material, or Highly

   Confidential—Outside Counsel Eyes Only.

(c) In the case of electronically stored information in any form (“Electronic

   Data”), by designating the Electronic Data as Confidential, Highly

   Confidential—Attorney’s Eyes Only, or Highly Confidential—Outside

   Counsel Eyes Only in a cover letter accompanying the production of the

   Electronic Data. Where feasible, counsel for the Producing Party will also

   mark the disk, tape or other electronic media on which the Electronic Data is

   produced with the appropriate designation. If a Party reduces Confidential,

   Highly Confidential—Attorney’s Eyes Only, or Highly Confidential—

   Outside Counsel Eyes Only Electronic Data to hardcopy form, it shall mark

   the hardcopy with the appropriate designation. Whenever any Confidential,

   Highly Confidential—Attorney’s Eyes Only, or Highly Confidential—




                                       -4-


Case 1:20-cv-00442-CCE-JLW Document 50 Filed 08/31/20 Page 4 of 22
   Outside Counsel Eyes Only Electronic Data is copied, all copies shall be

   marked with the appropriate designation.

(d) In the case of depositions or other pretrial testimony: (i) by a statement on the

   record, by counsel, at the time of such disclosure, or (ii) by written notice sent

   to all counsel of record for the Parties within fifteen business days after

   receipt of the transcript of the deposition unless the parties agree to an

   extension of this time period for designation. All transcripts shall be

   considered Highly Confidential—Outside Counsel Eyes Only and subject to

   this Protective Order until expiration of that fifteen-day period. Any

   testimony designated Confidential, Highly Confidential—Attorney’s Eyes

   Only, or Highly Confidential—Outside Counsel Eyes Only shall be marked

   and treated in the same manner as documents covered by this Protective

   Order. All videotapes of depositions shall be clearly labeled Confidential,

   Highly Confidential—Attorney’s Eyes Only, or Highly Confidential—

   Outside Counsel Eyes Only, as appropriate pursuant to this Protective Order.

(e) No confidentiality designations need be made for documents made available

   for inspection and copying. If the inspecting Party selects any documents for

   copying, the Producing Party shall, as appropriate, mark the copies as

   Confidential, Highly Confidential—Attorney’s Eyes Only, or Highly

   Confidential—Outside Counsel Eyes Only in the manner set forth in

   subparagraph (a) before producing them to the inspecting Party. During the

   time between the initial inspection and the production of copies of specified

                                        -5-


Case 1:20-cv-00442-CCE-JLW Document 50 Filed 08/31/20 Page 5 of 22
      documents, all files and records subject to the inspection shall be treated as if

      they had been designated Highly Confidential—Attorney’s Eyes Only

      pursuant to the terms of this Protective Order. Only persons who may access

      Highly Confidential—Attorney’s Eyes Only Material, as identified in

      Paragraph 8, may participate in an initial inspection.

6. Inadvertent Failure to Designate Material as Confidential, Highly

   Confidential—Attorney’s Eyes Only, or Highly Confidential—Outside

   Counsel Eyes Only. The inadvertent failure to designate Material as

   Confidential, Highly Confidential—Attorney’s Eyes Only, or Highly

   Confidential—Outside Counsel Eyes Only shall not be deemed a waiver of a

   claim of confidentiality, either as to the specific information or materials

   disclosed, or as to any other information or materials relating thereto or on the

   same or related subject matter. Within ten (10) days of discovery of an

   inadvertent failure to designate Material as Confidential, Highly Confidential—

   Attorney’s Eyes Only, or Highly Confidential—Outside Counsel Eyes Only, the

   Producing Party shall provide written notification to all other parties to the

   Litigation of the appropriate designations and shall produce replacement copies

   of the Material with the appropriate designations, consistent with the

   requirements of Paragraph 5 of this Order (governing the manner of marking

   information designated under this Order). Regardless of whether replacement

   copies are provided, from receipt of written notification of the appropriate




                                           -6-


  Case 1:20-cv-00442-CCE-JLW Document 50 Filed 08/31/20 Page 6 of 22
      designations, all Parties shall treat the Material in accordance with those

      designations.

7. Persons Who May Access Confidential Material. Except as provided in

      Paragraph 12, absent written consent from the Producing Party or unless

      otherwise directed by the Court, Confidential Material may be disclosed only to

      the following persons:

(a)      Outside counsel of record for the Parties;

(b)      In-house counsel for the Parties (including, for Maryland and Virginia Milk

         Producers Association, Inc., attorneys affiliated with Watkinson Miller

         PLLC) who are actively involved in assisting with the prosecution or defense

         of this Litigation;

(c)      Two designated representatives of each Party to the Litigation who are

         actively participating in assisting with the prosecution or defense of this

         Litigation;

(d)      Outside experts or consultants who are not regular employees of a Party but

         are retained on behalf of any of the Parties to assist in the preparation of this

         case;

(e)      Outside photocopying, graphic production services or litigation support

         services employed by the Parties or their counsel to assist in this Litigation,

         and computer service personnel performing duties in relation to a

         computerized litigation system;




                                              -7-


  Case 1:20-cv-00442-CCE-JLW Document 50 Filed 08/31/20 Page 7 of 22
(f)      The Court in this action or any court hearing an appeal from a judgment or

         order rendered by the Court in this action;

(g)      Court reporters, videographers, stenographers, and court personnel; and

(h)      The direct staff of, and any contract support personnel employed or retained

         by, any of the foregoing persons, provided that such persons are actively

         involved in assisting with the prosecution or defense of this Litigation.

8. Persons Who May Access Highly Confidential—Attorney’s Eyes Only

      Material. Except as provided in Paragraph 12, absent written consent from the

      Producing Party or unless otherwise directed by the Court, Highly Confidential—

      Attorney’s Eyes Only Material may be disclosed only to the following persons:

(a)      Outside counsel of record for the Parties;

(b)      Two designated in-house counsel for the Parties (including, for Maryland and

         Virginia Milk Producers Association, Inc., attorneys affiliated with

         Watkinson Miller PLLC) who are actively involved in assisting with the

         prosecution or defense of this Litigation, provided that the names of such

         designated in-house counsel are disclosed to counsel for the Parties prior to

         disclosure of Highly Confidential—Attorney’s Eyes Only Material;

(c)      Outside experts or consultants who are not regular employees of a Party but

         are retained on behalf of any of the Parties to assist in the preparation of this

         case;

(d)      Outside photocopying, graphic production services or litigation support

         services employed by the Parties or their counsel to assist in this Litigation,

                                              -8-


      Case 1:20-cv-00442-CCE-JLW Document 50 Filed 08/31/20 Page 8 of 22
         and computer service personnel performing duties in relation to a

         computerized litigation system;

(e)      The Court in this action or any court hearing an appeal from a judgment or

         order rendered by the Court in this action;

(f)      Court reporters, videographers, stenographers, and court personnel; and

(g)      The direct staff of, and any contract support personnel employed or retained

         by, any of the foregoing persons, provided that such persons are actively

         involved in assisting with the prosecution or defense of this Litigation.

9. Persons Who May Access Highly Confidential—Outside Counsel Eyes Only

      Material. Except as provided in Paragraph 12, absent written consent from the

      Producing Party or unless otherwise directed by the Court, Highly Confidential—

      Outside Counsel Eyes Only Material may be disclosed only to the following

      persons:

             (a)      Outside counsel of record for the Parties;

             (b)      Outside experts or consultants who are not regular employees of a

      Party but are retained on behalf of any of the Parties to assist in the preparation

      of this case;

             (c)      Outside photocopying, graphic production services or litigation

      support services employed by the Parties or their counsel to assist in this

      Litigation, and computer service personnel performing duties in relation to a

      computerized litigation system;




                                               -9-


      Case 1:20-cv-00442-CCE-JLW Document 50 Filed 08/31/20 Page 9 of 22
          (d)    The Court in this action or any court hearing an appeal from a

   judgment or order rendered by the Court in this action;

          (e)    Court reporters, videographers, stenographers, and court personnel;

   and

          (f)    The direct staff of, and any contract support personnel employed or

   retained by, any of the foregoing persons, provided that such persons are actively

   involved in assisting with the prosecution or defense of this Litigation.

10. Application of this Protective Order to Persons with Access to Confidential,

   Highly Confidential—Attorney’s Eyes Only, or Highly Confidential—

   Outside Counsel Eyes Only Material.

          (a)    Each person given access to Confidential Material, Highly

   Confidential—Attorney’s Eyes Only Material, or Highly Confidential—Outside

   Counsel Eyes Only Material shall be advised that the Confidential Material,

   Highly Confidential—Attorney’s Eyes Only Material, or Highly Confidential—

   Outside Counsel Eyes Only is being disclosed pursuant to and subject to the

   terms of this Protective Order and may not be disclosed or used other than as set

   forth in this Protective Order.

          (b)    All persons allowed access to Confidential, Highly Confidential—

   Attorney’s Eyes Only, or Highly Confidential—Outside Counsel Eyes Only

   Material under this Protective Order shall take all necessary steps to insure that

   access to such Material is restricted to those persons who, by the terms of this

   Protective Order, are allowed access to the Material. To the extent that a person

                                          - 10 -


  Case 1:20-cv-00442-CCE-JLW Document 50 Filed 08/31/20 Page 10 of 22
 allowed access to Confidential, Highly Confidential—Attorney’s Eyes Only, or

 Highly Confidential—Outside Counsel Eyes Only Material creates, develops,

 establishes, or otherwise maintains, on any computer, network, disk, tape, or

 other device, any information, files, databases or programs that contain

 Confidential Material, Highly Confidential—Attorney’s Eyes Only Material, or

 Highly Confidential—Outside Counsel Eyes Only Material, such person shall

 take all necessary steps to insure that access to any such Material is restricted to

 those persons who, by the terms of this Protective Order, are allowed access to

 the Material.

        (c)      Before any person described above in Paragraphs 7(d), 8(c), or 9(b)

 is given access to Confidential Material, Highly Confidential—Attorney’s Eyes

 Only Material, or Highly Confidential—Outside Counsel Eyes Only Material,

 that person must read and agree in writing, by signing an acknowledgment in the

 form attached hereto as Exhibit A, to be bound by the provisions of this

 Protective Order.

        (d)      Before any other person described in Paragraphs 7, 8 or 9 is shown

 any Confidential Material, Highly Confidential—Attorney’s Eyes Only Material,

 or Highly Confidential—Outside Counsel Eyes Only that person must be shown

 a copy of this Protective Order and instructed that he or she is bound by its

 provisions. This requirement does not apply to outside counsel of record for the




                                         - 11 -


Case 1:20-cv-00442-CCE-JLW Document 50 Filed 08/31/20 Page 11 of 22
   Parties or to the Court in this action or any court hearing an appeal from a

   judgment or order rendered by the Court in this action.

11. Filing Documents Containing Confidential, Highly Confidential—Attorney’s

   Eyes Only, or Highly Confidential—Outside Counsel Eyes Only Material.

   The parties will enter into a separate Stipulated Supplemental Protective Order

   regarding the filing of Confidential, Highly Confidential—Attorney’s Eyes Only,

   or Highly Confidential—Outside Counsel Eyes Only Material.


12. Use of Confidential, Highly Confidential—Attorney’s Eyes Only, or Highly

   Confidential—Outside Counsel Eyes Only Material at Depositions. Counsel

   for any Party wishing to use Confidential, Highly Confidential—Attorney’s Eyes

   Only, or Highly Confidential—Outside Counsel Eyes Only Material to any

   person whose testimony is taken, or scheduled to be taken, in this action and who

   is a current employee of the Producing Party or whom counsel for the examining

   or preparing party reasonably believes in good faith to have authored or

   previously received or reviewed such Material in the course of business. In

   addition, to the extent the Material purports to describe the conduct or statements

   of the person, he or she may be shown the particular portion of the Material

   purporting to describe his or her conduct or statements, but only that portion and

   not the remainder of the Material. Prior to showing any such Material to the

   witness who is not a current employee of the Producing Party, counsel must

   obtain the witness’s affirmation, by signing an acknowledgment in the form



                                          - 12 -


 Case 1:20-cv-00442-CCE-JLW Document 50 Filed 08/31/20 Page 12 of 22
   attached hereto as Exhibit B or through sworn testimony on the record, that the

   witness has reviewed the Protective Order, agrees to be bound by its provisions

   (including that the witness may not disclose the information to anyone and may

   not use the information for any purpose other than in connection with testimony

   in this action), understands that breach of this Protective Order could subject the

   witness to sanctions or damages, and consents to the jurisdiction of this Court for

   purposes of any action instituted for the breach of this Protective Order.

13. Use of Confidential, Highly Confidential—Attorney’s Eyes Only, or Highly

   Confidential—Outside Counsel Eyes Only Material at Trial or Hearing. The

   restrictions, if any that will govern the use of Confidential Material, Highly

   Confidential—Attorney’s Eyes Only Material, or Highly Confidential—Outside

   Counsel Eyes Only Material at trial or hearings will be determined at a later date

   by the Court, in consultation with the Parties.

14. Privileged Material. The handling of privilege materials shall be governed by a

   separate Rule 502(d) Order.

15. Redaction of Documents. The Parties agree that any party may redact

   documents on the basis of:

             (a) any applicable legal privilege; or

             (b) to protect confidential personal information that is not relevant to

                 any issue in this litigation, including but not limited to information

                 regarding account numbers, account balances, social security

                 numbers, or other personally-identifiable information.

                                          - 13 -


  Case 1:20-cv-00442-CCE-JLW Document 50 Filed 08/31/20 Page 13 of 22
       16.    Removal of Confidential, Highly Confidential—Attorney’s Eyes Only,

or Highly Confidential—Outside Counsel Eyes Only Designation. A Party shall not

be obligated to challenge the propriety of the confidentiality designation of any material

under this Protective Order at the time the designation is made, and failure to do so shall

not preclude a subsequent challenge thereto. Any Party may object to the designation of

any Material as Confidential, Highly Confidential—Attorney’s Eyes Only, or Highly

Confidential—Outside Counsel Eyes Only by giving written notice to counsel for the

Producing Party (or to the Producing Party directly if no counsel has appeared on its

behalf) that it objects to the designation. Such notice shall specifically identify the

Material at issue and state the reasons for questioning the confidentiality designation.

Within ten (10) business days after such notice, the Objecting and Producing Party shall

confer in good faith to attempt to resolve any such dispute. If the Parties are unable to

resolve the dispute, the Objecting Party may apply to the Court for a ruling that the

Material is not appropriately designated, giving notice to the Producing Party. If such a

motion is made, the Producing Party will have the burden to establish that the

designation is proper. Until the Court rules on the motion, the documents shall be

treated as Confidential, Highly Confidential—Attorney’s Eyes Only, or Highly

Confidential—Outside Counsel Eyes Only, as originally designated.

       Any motion filed under this paragraph 16 shall be accompanied by a brief

containing no more than 3,125 words. The Producing Party’s responsive brief shall be

filed within 14 days and contain no more than 3,125 words. A reply brief will not be

permitted absent leave of Court. The moving Party shall file the challenged Material

                                               - 14 -


     Case 1:20-cv-00442-CCE-JLW Document 50 Filed 08/31/20 Page 14 of 22
under seal in accordance with the provisions of the Stipulated Supplemental Protective

Order regarding sealing.

   17. Preservation of Objections to Discovery. Nothing in this Protective Order shall

      prevent any Party from objecting to discovery that it believes is improper.

   18. Modification of the Protective Order. This Protective Order shall not prevent a

      Party from applying to the Court for relief therefrom, or from applying to the

      Court for further or additional Protective Orders.

   19. Copy of Protective Order Must Be Served With Any Subpoena. When

      serving any subpoena in this Litigation on a non-party to the Litigation, a copy of

      this Protective Order shall be included with the subpoena.

   20. Third Party Requests for Confidential, Highly Confidential—Attorney’s

      Eyes Only, or Highly Confidential—Outside Counsel Eyes Only Material. If

      any person receiving Material covered by this Protective Order is subpoenaed in

      another action or proceeding, served with a document demand, or otherwise

      requested to provide Material covered by this Protective Order, and such

      subpoena, document demand, or request seeks Material which was produced or

      designated as Confidential Material, Highly Confidential—Attorney’s Eyes Only

      Material, or Highly Confidential—Outside Counsel Eyes Only Material by any

      Producing Party, counsel to the person receiving the subpoena, document

      demand, or request shall give written notice within two (2) business days of said

      counsel receiving notice of service of the subpoena to counsel for the Producing

      Party and shall, to the extent permitted by law, withhold production of the

                                             - 15 -


     Case 1:20-cv-00442-CCE-JLW Document 50 Filed 08/31/20 Page 15 of 22
   Material until any dispute relating to the production of such Material is resolved,

   and in any event no Material of a Producing Party shall be produced earlier than

   five (5) business days after delivering written notice to counsel for the Producing

   Party of an intent to produce.

21. Intentional or Inadvertent Unauthorized Disclosure of Confidential, Highly

   Confidential—Attorney’s Eyes Only, or Highly Confidential—Outside

   Counsel Eyes Only Material. If any person subject to this Protective Order

   becomes aware that he or any other person has, either intentionally or

   inadvertently, disclosed Confidential Material, Highly Confidential—Attorney’s

   Eyes Only Material, , or Highly Confidential—Outside Counsel Eyes Only

   Material to someone not authorized to receive such Material under this Protective

   Order, counsel of record for the Party involved shall immediately inform the

   Producing Party’s counsel of record about the unauthorized disclosure, and also

   shall use his or her best efforts to obtain the return of all improperly disseminated

   copies of the Confidential Material, Highly Confidential—Attorney’s Eyes Only

   Material, or Highly Confidential—Outside Counsel Eyes Only and to prevent

   any further improper dissemination of the same.

22. Court Retains Jurisdiction. This Protective Order shall survive the termination

   of this litigation. This Court expressly retains jurisdiction over this action for




                                           - 16 -


  Case 1:20-cv-00442-CCE-JLW Document 50 Filed 08/31/20 Page 16 of 22
   enforcement of the provisions of this Protective Order following the final

   resolution of this Litigation.

23. Return or Destruction of Confidential, Highly Confidential—Attorney’s

   Eyes Only, or Highly Confidential—Outside Counsel Eyes Only Material.

   Within sixty (60) days of the termination of this action, including the exhaustion

   of all appeals, all Confidential Material, Highly Confidential—Attorney’s Eyes

   Only Material, or Highly Confidential—Outside Counsel Eyes Only Material

   supplied by any Producing Party, including any copies thereof, as well as any

   summaries, notes, extracts, compilations, drawings, or other documents

   containing Confidential, Highly Confidential—Attorney’s Eyes Only, or Highly

   Confidential—Outside Counsel Eyes Only Material, shall be returned to the

   Producing Party or shall be destroyed and their destruction certified in writing

   unless otherwise agreed in writing by the parties; provided, however, that there

   shall be no obligation to return or destroy Materials to which a Party had access

   prior to production of such Materials in this Litigation. A copy of the written

   certification shall be provided to the Producing Party. It is further provided that

   for each Party, outside counsel of record may retain one complete and unredacted

   set of its work product that contains designated Material as well as pleadings and

   papers filed with the Court or served on the other Parties, deposition transcripts

   and exhibits thereto, and any trial or hearing testimony and exhibits thereto.

24. Parties May Use Their Own Confidential, Highly Confidential—Attorney’s

   Eyes Only, and Highly Confidential—Outside Counsel Eyes Only

                                          - 17 -


 Case 1:20-cv-00442-CCE-JLW Document 50 Filed 08/31/20 Page 17 of 22
   Documents. Nothing in this Protective Order shall preclude any Party or its

   counsel from (a) showing information or materials designated under this

   Protective Order to an individual who either prepared or reviewed the document

   prior to the filing of the Litigation; or (b) from disclosing or using, in any manner

   or for any purpose, any information or materials from the party’s own files that

   the party itself has designated under this Protective Order.

25. Parties May Consent to Disclosure. Nothing in this Protective Order shall

   prevent disclosure beyond the terms of this Protective Order if the party that

   designated the materials or information consents in writing to such disclosure, or

   if a Court orders such disclosure.

26. Materials Otherwise Disclosed. This Protective Order shall not be construed to

   apply to any information or materials that: (a) are available to the public other

   than through a breach of this Protective Order or other duty of confidentiality; (b)

   a receiving party can demonstrate was already known to the receiving party at the

   time of disclosure and were not subject to conditions of confidentiality; or (c) a

   receiving party can demonstrate were developed by that receiving party

   independently of any disclosure by a designating party or nonparty.

This the 31st day of August, 2020.


                                        __________________________________
                                         UNITED STATES DISTRICT JUDGE




                                           - 18 -


  Case 1:20-cv-00442-CCE-JLW Document 50 Filed 08/31/20 Page 18 of 22
                                       EXHIBIT A

                      UNITED STATES DISTRICT COURT
                   MIDDLE DISTRICT OF NORTH CAROLINA
                               1:20-CV-402


Food Lion, LLC, and Maryland and Virginia
Milk Producers Cooperative Association,
Inc.,

                     Plaintiffs,

v.

Dairy Farmers of America, Inc.,

                     Defendant.


                              ACKNOWLEDGMENT

      I hereby certify my understanding that Material designated “Confidential,”

“Highly Confidential—Attorney’s Eyes Only,” or “Highly Confidential—Outside

Counsel Eyes Only” is being provided to me pursuant to the terms and restrictions of

the Protective Order entered in this action by the United States District Court for the

Middle District of North Carolina, Greensboro Division, on                    (the

“Protective Order’’). I have read and understand the terms of the Protective Order, I

agree to be fully bound by them, and I hereby submit to the jurisdiction of the United

States District Court for the Middle District of North Carolina for the purposes of

enforcement of the Protective Order.




                                             - 19 -


     Case 1:20-cv-00442-CCE-JLW Document 50 Filed 08/31/20 Page 19 of 22
Date: _________________         Signature: ________________________

                                Name: ___________________________




                                    - 20 -


   Case 1:20-cv-00442-CCE-JLW Document 50 Filed 08/31/20 Page 20 of 22
                                      EXHIBIT B

                       UNITED STATES DISTRICT COURT
                    MIDDLE DISTRICT OF NORTH CAROLINA
                                1:20-CV-442


Food Lion, LLC, and Maryland and Virginia
Milk Producers Cooperative Association,
Inc.,

                     Plaintiffs,

v.

Dairy Farmers of America, Inc.,

                     Defendant.


                               ACKNOWLEDGMENT

       I hereby affirm, under oath, my understanding that Material designated

“Confidential,” “Highly Confidential—Attorney’s Eyes Only,” or “Highly

Confidential—Outside Counsel Eyes Only” is being provided to me pursuant to the

terms and restrictions of the Protective Order entered in this action by the United

States District Court for the Middle District of North Carolina, Greensboro Division, on

                    (the “Protective Order”). I have read and understand the terms of the

Protective Order, including terms that provide that I will not disclose such Material to

anyone or use such Material for any purpose other than in connection with my

testimony in this matter. I agree to be fully bound by the provisions of such Protective

Order, and I hereby submit to the jurisdiction of the United States District Court for the




     Case 1:20-cv-00442-CCE-JLW Document 50 Filed 08/31/20 Page 21 of 22
Middle District of North Carolina for the purposes of enforcement of the Protective

Order. I further acknowledge and understand that any breach of the Protective Order

may be punished pursuant to the contempt powers of the Court and could result in an

action against the undersigned for any damages caused by any such breach.



Date: ____________________              Signature: ________________________

                                        Name: ___________________________




   Case 1:20-cv-00442-CCE-JLW Document 50 Filed 08/31/20 Page 22 of 22
